         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2024-1044
                   LT Case No. 2024-CA-144
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ROBERT G. OGDEN,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Sumter County.
Michelle T. Morley, Judge.

Robert G. Ogden, Bushnell, pro se.

Ashley Moody, Attorney General, Tallahassee, and Whitney
Brown Hartless, Assistant Attorney General, Daytona Beach, for
Appellee.

                        August 20, 2024


PER CURIAM.

    AFFIRMED.

EISNAUGLE, HARRIS, and PRATT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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